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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

KELLI KENNEDY,                                         )
                                                       )
                               Plaintiff,              )
                                                       )
                          v.                           )      No. 1:19-cv-04799-JRS-MPB
                                                       )
PEOPLEFIRST HOMECARE & HOSPICE OF                      )
INDIANA, LLC,                                          )
                                                       )
                               Defendant.              )

       ORDER DIRECTING FILING OF A PLEADING AUTHORIZING DISMISSAL

       The Court has been advised by counsel that a settlement has been reached in this action.

All that remains to be done is the execution of documents and/or delivery of funds, if so

required, in accordance with their agreement. Therefore, all pending motions, if any, are now

DENIED AS MOOT and all previously ordered dates relating to discovery, filings, schedules,

conferences and trial, if any, are VACATED.

      IT IS ORDERED that within thirty (30) days of this date, counsel for the plaintiff shall file

a motion to dismiss this cause or a stipulation of dismissal and submit an order for the Court’s

signature ordering the dismissal of this action (in conformance with the agreement of the

parties). Failure to comply with this order will result in DISMISSAL WITH PREJUDICE

pursuant to Rule 41(b), Fed. R. Civ. P. for failure to prosecute this action in a timely manner.

Additional time to complete the execution of the settlement document may be granted if requested

in writing prior to the expiration of this period of time.

      ALL OF WHICH IS ORDERED THIS 3rd DAY OF APRIL, 2020.




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